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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

  UNITED STATES OF AMERICA,

        Plaintiff,

  v.                                        :   CASE NO.: 8:05-cr-I 54-T-23TBM

  JONATHON R. COUNTS,

        Defendant.


                           FORFEITURE MONEY JUDGMENT

        THIS CAUSE comes before the Court on Motion of the United States of America

  for Entry of a Forfeiture Money Judgment in the amount of $338,285.00 USD, which,

  upon entry, shall be a final order of forfeiture as to defendant Jonathon R. Counts. The

  Court, being fully advised in the premises, hereby finds as follows:

        1.      That the amount of funds obtained by defendants as a result of defendant

  Jonathon Counts' participation in the conspiracy to commit bank fraud, contrary to the

  provisions of 18 U.S.C. § 1344, in violation of 18 U.S.C. 3 371, charged in Count One of

  the lndictment, is $338,285.00 USD.

        2.      That pursuant to his plea agreement, defendant Jonathon R. Counts pled

  guilty to Counts One and Sixteen of the lndictment and agreed to the entry of a

  forfeiture money judgment in the amount of $338,285.00 USD, pursuant to the

  provisions of 18 U.S.C. § 982(a)(2)(A).

        ORDERED, ADJUDGED and DECREED that the United States' motion is

  GRANTED.
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         It is FURTHER ORDERED that, based on his participation in the conspiracy

  charged in Count One, defendant Jonathon R. Counts is jointly and severally liable to

  the United States of America for a forfeiture money judgment in the amount of

  $338,285.00 USD, pursuant to the provisions of 18 U.S.C. 5 982(a)(2)(A).

        The Court shall retain jurisdiction to enter any orders necessary for the forfeiture

  and disposition of any property, belonging to the defendant, that the United States is

  entitled to seek as substitute assets up to the amount of such forfeiture money

  judgment, and to entertain any third party petitions that may be filed in those

  proceedings.

        DONE and ORDERED in Chambers in Tampa, Florida, this             1 sti day of


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                                            HON. STEVEN D. MERRYDAY
                                            UNITED STATES DISTRICT JUDGE


  Copies to: Anita M. Cream, AUSA
             Attorneys of Record
